Case 17-03305-JMC-13 Doc65_ Filed 05/08/19 EOD 05/08/19 14:39:04 Pgiof1

B 2100A (Form 2100A) (12/15)

UNITED STATES BANKRUPTCY COURT

Southern District of Indiana

Mary Joanne Littlejohn; aka Mary Jo Littlejohn; fka Mary Joanne
In re Brown; fka Mary Joanne Frye; dka Mary Joanne Bray Case No. 17-03305-JMC-13

 

TRANSFER OF CLAIM OTHER THAN FOR SECURITY

A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111 (a). Transferee
hereby gives evidence and notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the transfer, other
than for security, of the claim referenced in this evidence and notice.

 

 

U.S. Bank Trust National Association, as U.S. Bank Trust National Association, as
Trustee of the Lodge Series III Trust Trustee of Chalet Series III Trust
Name of Transferee Name of Transferor
Name and Address where notices to transferee Court Claim # (if known): 6-1
should be sent: Amount of Claim: $164,500.35
c/o SN Servicing Corporation Date Claim Filed: 09/05/2017

323 Fifth Street
Eureka, CA 95501

Phone: 800.603.0836 Phone:
Last Four Digits of Acct#: 6899 Last Four Digits of Acct. #: _ 6899

 

 

Name and Address where transferee payments

should be sent (if different from above):
SN Servicing Corporation

PO Box 660820
Dallas, TX 75266

Phone: 800.603.0836
Last Four Digits of Acct #:____ 6899

 

I declare under penalty of perjury that the information provided in this notice is true and correct to the
best of my knowledge and belief.

By: /s/ Molly Slutsky Simons Date: 05/08/2019
Transferee/Transferee’s Agent

 

 

Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571.
